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 1         IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
 2                   ATLANTA DIVISION

 3   UNITED STATES,                 )
                                    )
 4                     Plaintiff,   )
                                    )
 5                 vs.              ) Case No.
                                    )1:18-cv-05774-AT
 6   NANCY ZAK, CLAUD CLARK III,    )
     ECOVEST CAPITAL, INC., ALAN N. )
 7   SOLON, ROBERT M. McCULLOUGH,   )
     RALPH R. TEAL, JR.,            )
 8                                  )
                       Defendants.  )
 9
                                 - - -
10               Videotaped deposition of RALPH R. TEAL,

11   JR., taken pursuant to notice via videoconference

12   at 2002 Oak Street, Suite 200, Myrtle Beach, South

13   Carolina, on Friday, January 28, 2021, at 9:14

14   a.m., before Lorraine B. Marino, Registered

15   Diplomate Reporter, Certified Realtime Reporter and

16   Notary Public.

17                                - - -

18

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22




                                                                   Exhibit
                                                                _____________
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 1   APPEARANCES: (via videoconference)

 2                ERIN R. HINES, ESQ.
                  HARRIS J. PHILLIPS, ESQ.
 3                ERIC M. ABERG, ESQ.
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20

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22




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                                                                          3

 1   APPEARANCES, Cont'd.:   (via videoconference)

 2                BENJAMIN J. RAZI, ESQ.
                  SEAN M. AKINS, ESQ.
 3                NICHOLAS PASTAN, ESQ.
                  COVINGTON & BURLING, LLP
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                    for Defendants EcoVest, Solon,
 8                  McCullough and Teal

 9   ALSO PRESENT: (via videoconference)

10                AMANDA REINKEN,
                  Litigation Tech Case Manager
11

12                ISAAC HORNER,
                  Videographer
13
                           - - -
14

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 1      Q.   In what way are you currently affiliated

 2   with EcoVest?    For example, are you an owner, an

 3   employee?     What is your role?

 4      A.   I own a percentage of EcoVest, and I am on

 5   their board.

 6      Q.   Any other role or involvement with

 7   EcoVest?

 8      A.   Not any other role than you would play --

 9   no.   I am an owner and a board member.    You know,

10   I do the things that the owners and board members

11   do.

12      Q.   So to be clear, you are not considered an

13   employee of EcoVest; correct?

14      A.   No.

15      Q.   Mr. Teal, you mentioned you have an

16   ownership interest in EcoVest.     Do you recall

17   sitting here today approximately how much

18   ownership percentage you have?

19      A.   I would think approximately 28 to

20   31 percent, 32 percent, somewhere in that range.

21      Q.   And when did you first become an owner in

22   EcoVest?




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 1      A.   I don't remember the exact year.    Possibly

 2   2015, possibly.     But I don't remember the exact

 3   year.   It may have been late 2014, somewhere in

 4   that range, I believe.

 5      Q.   Okay.    And before you were an owner, did

 6   you have a relationship with EcoVest?

 7      A.   I had a business relationship, yes, yes.

 8      Q.   How far back does that business

 9   relationship with EcoVest go?

10      A.   I met them in late 2011, but there was

11   no -- that was just an introduction.    But we

12   started working together in 2012.

13      Q.   So you worked with them for a few years

14   before you became an owner.    That would be

15   accurate; correct?

16      A.   Yes.

17      Q.   Okay.    What were the circumstances

18   surrounding your decision to buy some shares and

19   become an owner in EcoVest?

20      A.   Alan Solon, who was the CEO of EcoVest,

21   had a chance to buy his partners in EcoVest out

22   of the company, and I participated in that




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 1   it and reviewed it at the time.      I don't remember

 2   this particular agreement, but it dates back a

 3   while.    So yes, it says what it says.

 4      Q.    Okay.    And when you say "Jim," you mean

 5   Jim Sack; is that correct?

 6      A.    I'm sorry.   Jim Sack.

 7      Q.    Let's turn to page 2.    And I want to

 8   direct your attention to subparagraph (f) as in

 9   Frank.    It looks like this paragraph was setting

10   an annual retainer for you in the amount of

11   $100,000 plus an annual expense account of up to

12   $100,000.    Do you see that?

13      A.    It was -- my recollection of that was it

14   was a board compensation.     I see that.

15      Q.    So you received $100,000 a year to serve

16   on the board of EcoVest?

17      A.    That was the agreement.

18      Q.    And did that start in 2016?

19      A.    I would have to go back and check, but I

20   don't see why it wouldn't have.

21      Q.    And to the best of your recollection, has

22   it been the same since 2016 of $100,000 per year




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 1   Just a board member.

 2      Q.   Have you ever served as chairman of the

 3   EcoVest board?

 4      A.   No.

 5      Q.   What about a vice chairman?

 6      A.   Yes, I don't know what a vice chairman

 7   does.   I was a board member.    And I'm not saying

 8   that there hadn't been some definition attached

 9   to what I am, but, you know, I don't remember.

10      Q.   Have you been a member of the EcoVest

11   board since 2015 to present?

12      A.   Yes.

13      Q.   How would you describe your role as a

14   member of the EcoVest board?

15      A.   Can you be more specific?    I don't --

16      Q.   What duties or tasks or responsibilities

17   do you have as a member of the EcoVest board?

18      A.   I go to board meetings.    I am involved in

19   the discussions in the direction of the company.

20   I do what other board members would normally, you

21   know:   Advise as to the direction of the company.

22                  MS. HINES:   Are you okay, Ben, or do




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 1    document shows; right?

 2                   MR. RAZI:    Objection.    That

 3    mischaracterizes the document.

 4                   THE WITNESS:    Yes, I don't remember

 5    a conversation in these contexts.        The context I

 6    remember was the overall transaction.        And I

 7    don't understand then nor do I understand now how

 8    they are priced.    So I'm not sure what he is

 9    referring to here.

10                   MS. HINES:    Okay.   Let's go ahead

11    and take that down, Amanda.

12   BY MS. HINES:

13       Q.   Mr. Teal, you have talked today about how

14    you are primarily responsible or one of the

15    people primarily responsible for locating land

16    for the EcoVest transactions; correct?

17       A.   Yes, ma'am.

18       Q.   How do you go about finding out about

19    potential land for the EcoVest transactions?

20       A.   In my job with the companies I am involved

21    in, that was my role generally.       One of my roles

22    was acquisition of properties that we ultimately




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 1   developed.    So through my years of doing it,

 2   that's what I do.

 3      Q.    So it is part based on your relationships

 4   and just knowledge in the industry; is that

 5   right?

 6      A.    Yes, that's right.   But, you know, that's

 7   one component of it.

 8      Q.    And what are the other components?

 9      A.    You know, through research.   I understand

10   where land is and what -- so I will look at that.

11   I have -- that would be the other component,

12   looking at areas and finding, tracking down

13   landowners for potential transactions.     But

14   brokers bring me land, you know, attorney, you

15   know, different people bring us properties.

16      Q.    Okay.    So you also get referrals about

17   potential land for the EcoVest transactions?

18      A.    Not just EcoVest transactions.   Just all

19   the business, all the different land that we do

20   in all our businesses.     I get referrals.   I get,

21   you know, people -- you know, we look for land.

22   We have developed a network of, you know, people




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 1    the other Alan that we have been talking about

 2    today?

 3       A.    I'm sorry.    Yes, Allen Paksima.

 4                     MS. HINES:   Okay.   Let's look at the

 5    next document.     It is going to be Exhibit 262,

 6    and it has the document ID ECOVEST-DOJ_0431806.

 7                     (Exhibit No. 262 was marked for

 8    identification.)

 9   BY MS. HINES:

10       Q.    Mr. Teal, this is a two-page email chain,

11    and Mr. Solon is forwarding you information about

12    attractive land; correct?

13       A.    Could you blow that up, please?

14       Q.    Just the top part or do you want the

15    whole --

16       A.    I mean, I can't --

17       Q.    Amanda, can you blow up the initial email

18    first, and then if you want to scroll, Mr. Teal,

19    we can scroll.      No.   Sorry, Amanda; the one at

20    the top.

21       A.    Yes, I see that.     Thank you.

22       Q.    Okay.    And, Mr. Teal, was it common for




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 1   EcoVest folks or Mr. Solon to also get leads on

 2   potential land opportunities?

 3      A.   Alan Solon would send me periodically land

 4   opportunities that people contacted him with.     I

 5   don't know if anybody else at EcoVest ever sent

 6   anything.     But Alan, I do remember him sending,

 7   you know, some correspondence from time to time.

 8      Q.   And in terms of deciding whether to pursue

 9   land for an EcoVest transaction, was your process

10   any different when you knew of the lead versus

11   when Alan Solon knew of the lead?

12      A.   No.

13      Q.   So we have seen now you got land leads

14   from a few different places:    From your

15   experience in the industry, from your network,

16   people reaching out with land opportunities

17   either to you directly or through folks you knew

18   or EcoVest.    Once you get an inquiry, what is

19   your next step?

20      A.   An EcoVest property that you referred to

21   is no different than a Realstar property or any

22   other land that we ultimately do.     You know, it




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 1   without a price.   I assume we never have done it,

 2   but I can't remember or imagine that happening.

 3   You know, we have done a lot of land transactions

 4   over the years, and I don't remember all of them.

 5   But that's typically -- you understand the

 6   pricing, and that's part of the LOI component.

 7      Q.   Mr. Teal, what is your role in determining

 8   that price?

 9      A.   Usually the seller has a price in mind,

10   and usually that's the part that gets things

11   started, but not always.    And there may be times

12   when the seller wants us to tell them first what

13   we will pay for it.   But generally, there is an

14   understanding of what the price is.     But most

15   often the seller has a price in mind.

16      Q.   And are you primarily the person

17   negotiating that price for the land for EcoVest

18   transactions?

19      A.   I am primarily initially the person doing

20   that for all the land our companies buy.

21      Q.   And in general would you describe that

22   process as a negotiation?




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 1   agreement is going to lay out what the price is

 2   that you are going to pay; right?

 3      A.    Yes, ma'am.

 4      Q.    And so in the EcoVest transactions, that

 5   first agreement usually took the form of a

 6   membership interest purchase agreement; is that

 7   right?

 8      A.    That's right.

 9      Q.    And that purchase price set forth in the

10   membership interest purchase agreement was a

11   price that you were willing to pay as the buyer;

12   right?

13      A.    Yes, those MIPAs were all prepared by our

14   lawyer, and that wasn't -- I got it to the point

15   to due diligence and the MIPA and the information

16   in the MIPA was all prepared by the attorneys,

17   but I would think that the price that's in there

18   was what was negotiated, and I am certain that it

19   was, but I didn't prepare a MIPA.

20      Q.    Did you ever sign a MIPA on behalf of

21   EcoVest?

22      A.    I don't remember that I would or didn't.




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 1   there is a description of this property, 28.04

 2   acres; correct?

 3      A.   Okay, I see that.

 4      Q.   And now I would like to scroll back up to

 5   page 2 of the pdf.   And, Amanda, if you can zoom

 6   in on the bottom there after the italics.     Yes,

 7   that works.

 8                 And in this document Mr. Clark has

 9   valued the property, that 28.04 acres, in the

10   before condition of $39,960,013.    Do you see

11   that?

12      A.   Yes, I see that.

13      Q.   Mr. Teal, would you have paid 39-

14   plus-million dollars for that 28 acres of land?

15      A.   From my understanding from, you know, my

16   attorneys and different accountants, I don't

17   believe Claud is appraising the land for

18   39 million.   I think he is appraising the

19   easement value, you know, the extinguishing all

20   the development rights in perpetuity.     But I'm

21   not an expert on conservation easement, you know,

22   but I don't believe he is appraising the land at




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 1   that price.   I think he is appraising, I am told

 2   by my attorney, the easement and extinguishing

 3   all the development rights in perpetuity.

 4      Q.   So it is your understanding that this

 5   $39 million is not value attributable solely to

 6   the land; is that correct?

 7      A.   My understanding is that it is the value

 8   of the extinguishing all the development rights

 9   and all the entitlements and everything that go

10   with the property in perpetuity.

11      Q.   So is the extinguishing the development

12   rights outlined in this appraisal document as the

13   potential development option?

14      A.   I have never seen that appraisal document,

15   to my knowledge, and I didn't write it, so I

16   don't -- it was reviewed, I'm sure, by EcoVest

17   attorneys and the different people, all the

18   people through the process.    So I don't know if

19   it is right or wrong, but it is not something, a

20   work product that I work in, and I don't remember

21   seeing it.    I am not saying I haven't.

22      Q.   But you would not have paid $39 million




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 1   for 28 acres of land, would you?

 2      A.   For pure land value or just for the land?

 3   No.   You would have to have, you know,

 4   developable -- you have to make money with the

 5   land, and the land is just a component.     So, you

 6   know, there would be no room in there to develop

 7   and make any money on, so --

 8      Q.   And I am going to represent to you that

 9   the price in the MIPA for Cypress Cove was a

10   little bit less than $1.1 million.     Mr. Teal, how

11   can you account for the difference between

12   $1.1 million paid in the MIPA versus a

13   $39 million value that Mr. Clark put forth about

14   six to eight months later?

15      A.   You know, Claud is an expert, has been

16   doing that for a long time.    He understands what,

17   I believe, and my attorneys believe he

18   understands the process to value these

19   conservation easements and the extinguishing of

20   all the development rights.    You know, I didn't

21   write the appraisal, but I believe in Claud and

22   the process and the people, the due diligence




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 1    every one had it, but I believe every one did,

 2    but I want to clarify that.

 3       Q.    Let's assume that the Cypress Cove Marina

 4    had the entitlements and the zoning in place.

 5    What else could have happened to the land between

 6    the time of the MIPA and the time of this

 7    appraisal when the property was previously valued

 8    at almost 1.1 million and now Mr. Clark's

 9    appraisal says unencumbered at almost 40 million?

10                   MR. RAZI:   Objection.

11   BY MS. HINES:

12       Q.    How do you account for that increase in

13    value?

14                   MR. RAZI:   Objection.   That

15    mischaracterizes the document.     Asked and

16    answered.   But you can answer.

17                   THE WITNESS:   Yes, I think the

18    land -- I think my understanding from my

19    attorneys through this process is the land value

20    is what you pay for the land.     But what he is

21    appraising here is not the land.     It is the

22    extinguishment of the development rights that you




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 1   are taking away forever and the benefits you

 2   would get from that.     So I don't think they have

 3   anything to do with one another.       But, you know,

 4   I believe that -- and my attorneys and the

 5   accountants and everybody that were involved in

 6   this, the process, and checked behind Claud, and

 7   I believe Claud knows his business and what he is

 8   doing, and I believe it to be correct, that it

 9   follows the law.

10   BY MS. HINES:

11      Q.   So, Mr. Teal, do you need a lawyer to

12   explain Mr. Clark's work to you?

13      A.   I don't look at Mr. Clark's work.

14      Q.   But sitting here today, you are saying you

15   would rely on them to explain this appraisal

16   document.

17      A.   I absolutely would, yes.

18                   MS. HINES:   Okay.   Let's go ahead

19   and take another break.      And when we go off the

20   record, Isaac, can you give us a time check,

21   please?

22                   THE VIDEOGRAPHER:    Going off the




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